         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CRIMINAL NO. 1:01CR48


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
ANTONIO GLOVER                          )
                                        )


     THIS MATTER is before the Court on the Government's motion to

reduce Defendant's sentence pursuant to Rule 35(b) of the Federal Rules

of Criminal Procedure.

     For the reasons stated therein,

     IT IS, THEREFORE, ORDERED that the Government's motion is

ALLOWED, and the Defendant's sentence is hereby reduced from a term

of 160 months imprisonment to a term of 124 months imprisonment, with

all other terms and conditions of the Judgment of Conviction to remain in

full force and effect. The Clerk of Court shall prepare an amended

Judgment in accordance with the terms herein.




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     The Clerk is directed to transmit this Order electronically to the

United States Attorney, defense counsel, the United States Probation

Office, the United States Marshal, and to the Warden of the federal

correctional facility where the Defendant is currently imprisoned; a copy

shall be mailed to the Defendant.

                                      Signed: July 19, 2007




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